Case 3:17-cr-00008-NKM-JCH Document 148 Filed 05/18/20 Page 1 of 1 Pageid#: 502




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

 UNITED STATES OF AMERICA,                              :
                                          :
                                          :
             v.                           : Docket No. 3:17cr8
                                          :
 JERMEL COLEMAN                           :
 ________________________________________ :


                                   NOTICE OF APPEARANCE

        Erin Trodden, Assistant Federal Public Defender, hereby notes her appearance as counsel

 for the above-referenced defendant on behalf of the Office of the Federal Public Defender.


                                               Respectfully submitted,

                                               JERMEL COLEMAN
                                               By: Counsel
 Counsel:

 /s/ Erin Trodden
 Erin Trodden
 Asst. Federal Public Defender
 VSB 71515
 116 N. Main St., Room 305
 Harrisonburg, VA 22802
 Tel (434) 220-3396
 Counsel for Defendant


                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 18, 2020, I electronically filed the foregoing with the Clerk
 of the Court using the CM/ECF system which will send notification of such filing to the
 following: counsel of record; and I hereby certify that I have mailed by United States Postal
 Service the document to the following non-CM/ECF participants: none.

                                               /s/ Erin Trodden
